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                       Exhibit A
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                                                            December 23, 2024

 VIA EMAIL: sjlucas@fbi.gov

 Spencer J. Lucas
 Associate Division Counsel
 FBI New York
 26 Federal Plaza
 New York, NY 10278

 Re: United States v. Rachel Cherwitz and Nicole Daedone, 23 CR 146 (E.D.N.Y)

 Dear Mr. Lucas,

         Pursuant to 28 C.F.R. § 16.21 et. seq. and United States ex rel. Touhy v. Ragen, 340 U.S.
 462 (1951), and on behalf of our clients, Nicole Daedone and Rachel Cherwitz, who are charged
 in the above-captioned case pending before Judge Diane Gujarati in the United States District
 Court for the Eastern District of New York, we write to request the oral testimony at trial of the
 lead case agent, FBI Special Agent Elliot McGinnis (hereafter “SA McGinnis”). This letter is
 provided in furtherance of our request that SA McGinnis be made available to testify as a defense
 witness in the trial of this matter, scheduled to begin on January 13, 2025. A copy of the indictment
 is enclosed herein.

         The United States Attorney’s Office has previously produced to us, as Defendants’ legal
 representatives, discovery indicating SA McGinnis’s extensive involvement in the investigation
 leading to the instant charges. But the United States does not intend to call SA McGinnis as a
 witness at trial. (ECF No. 197; ECF No. 199.) Refusal to call the lead investigator raises concerns
 about the presentation of evidence in this trial.

          SA McGinnis has interviewed numerous witnesses, obtained and reviewed voluminous
 documents, and has become a critical fact witness in this case. His firsthand knowledge of those
 interviews, observations of witness demeanor, and the manner and means of his investigation are
 critical facts that must be presented at trial.

        SA McGinnis’ testimony is critical to the defense for several reasons:

        First, SA McGinnis is the only witness who will be able to discredit the testimony of key
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 prosecution witnesses. For example, we expect that the prosecution’s most important witness,
 Ayries Blanck (“Ms. Black”), will testify that her handwritten journals (a critical piece of
 documentary evidence in this case) were authored by her in 2015. SA McGinnis will be able to
 testify about the various versions of those same journals that he received from both Ms. Blanck
 and her sister, Autymn Blanck, with whom he also had extensive communication. Ms. Blanck and
 her sister sent multiple versions of these journals to SA McGinnis over the course of this
 investigation, including granting him access to edit electronic versions of the journals. SA
 McGinnis is the only witness who can speak to the multiple versions of the journals, when and
 how he received them and what he did with them – testimony that will be critical to the Defense’s
 theory that the journal was not written in 2015, but rather many years after the events in question
 took place. As far as counsel is aware, based on all the discovery seen to date and representations
 from the prosecutors responsible for this case, no other case agent has similar knowledge regarding
 the multiple versions of Ms. Blanck’s journals. SA McGinnis’s testimony is the only way the
 defense will be able to demonstrate to the jury that multiple versions of the same document existed
 at different times and that extensive edits were made to the documents by multiple authors. This
 is precisely the type of testimony case agents provide in a criminal case and is testimony that will
 not be available to the defendants without SA McGinnis’ testimony. The example above is but one
 example of the type of witness-discrediting testimony the defense believes SA McGinnis will be
 able to provide.

         In addition, SA McGinnis interviewed dozens, if not more, of witnesses who will testify
 for the government – some multiple times. We expect to confront these witnesses with statements
 these witnesses made to SA McGinnis which we expect to be inconsistent with their testimony at
 trial. There is no other witness, besides SA McGinnis, who will be able to testify to these
 inconsistent statements.

          Furthermore, as has already been the subject of pretrial litigation and numerous media
 reports, the Defense intends to demonstrate at trial that much of the anticipated government witness
 testimony from former OneTaste employees was the product of SA McGinnis and others’ improper
 influence. Specifically, Defendants contend that SA McGinnis’ investigation lacks essential
 integrity which is relevant at trial. To be sure, he has engaged in several fundamentally unsound
 tactics, including instructing witnesses to destroy evidence and conceal materials from civil courts;
 mishandling and concealing privileged marked materials; submitting misleading sworn statements
 to the court; interfering with lawful civil action discovery; manipulating witness statements and
 documentary evidence and cherry-picking alleged “victims” through an organized effort to recruit
 as witnesses, out of the tens of thousands of attendees at OneTaste events, the exceedingly few
 individuals who only now maintain that they were unsatisfied with the outcome of their OneTaste
 experience. (See, e.g., ECF No. 96; ECF No. 98; ECF No. 105.)

        This information is not available from any other source because SA McGinnis has first-
 hand knowledge of relevant factual information not available to other potential witnesses. Defense
 counsel intends to question SA McGinnis on these topic areas:

    1. Discussions with former OneTaste employees and other government witnesses—including
       information regarding how he was introduced to the witnesses, mode and manner of
       communications, promises or other consideration given to the likely government witnesses,

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         etc.;
    2.   Interactions and communications with witnesses Ms. Blanck and her sister, including when
         and how he came into possession of Ms. Blanck’s journals, and the nature and extent of his
         alterations of the journals;
    3.   Interactions and communications with third parties about this case, including media outlets
         and Netflix.
    4.   Review of OneTaste company records, witness-produced documents, and witness
         interviews.
    5.   Discussions and communications regarding government-sponsored victim assistance
         services.
    6.   FBI policies and procedures regarding investigation integrity, communications with
         victims/witnesses, and evidence handling/logging/disclosure.

     We have reviewed the considerations set forth in 28 C.F.R. § 16.26(b) and do not believe SA
 McGinnis’s testimony will violate any statute or regulation, reveal classified information or
 information relating to any confidential source, or reveal investigatory records or trade secrets. His
 testimony is “both relevant and essential to the presentation of [this] case on the merits, and that
 need for disclosure outweighs” the need for secrecy or any other potential privilege. See Miller v.
 Mehltretter, 478 F. Supp. 2d 415, 242 (W.D.N.Y. 2007) (internal quotations and citations omitted).

    Counsel for Defendants’ address and contact information is as follows:

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    Counsel for Defendant Rachel Cherwitz




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    Counsel for the United States Attorney’s Office, i.e. opposing counsel, is as follows:

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         We intend to provide a subpoena for SA McGinnis’ presence on January 13, 2025, the date
 jury selection is to begin, and ongoing, subject to call. This date is of course not the date SA
 McGinnis will testify and is subject to change based on the trial schedule, length of the
 government’s case, and commencement of the defense case. We will inform you of the date certain
 on which we seek to have SA McGinnis produced for testimony once trial commences. It is
 respectfully requested that SA McGinnis or one of his representatives reach out to undersigned
 counsel for further scheduling purposes.

        If you have any questions, please do not hesitate to contact me or my office.


                                                      Sincerely,

                                                      _/S/ Imran H. Ansari_______
                                                      Imran H. Ansari




 Encl.: Indictment
 cc: All current counsel of record




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